Case 1:20-cr-00027-TSK-MJA Document 63 Filed 12/10/20 Page 1 of 4 PageID #: 182


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

 UNITED STATES OF AMERICA,

 v.                                                              Criminal Action No. 1:20-CR-27
                                                                 (KLEEH)

 RETA MAYS,

                        Defendant.

                             UNITED STATES' STATUS REPORT

        Now comes the United States of America and William J. Powell, United States Attorney

 for the Northern District of West Virginia, by Jarod J. Douglas, Assistant United States Attorney

 for said District, and provide the follow status report regarding the parties’ efforts to obtain the

 defendant’s military mental health records.

        1.      On December 4, 2020, the government filed a written status report [Doc. 62], as

 directed by the Court during a status conference on November 18, 2020.      The report outlined the

 government’s efforts since November 18 to assist the defendant in obtaining her military medical

 records from the time that she was in theater from February 3, 2003 to May 4, 2004.     As relevant

 here, the report explained the following about those records:

             a. The records would have been maintained in the Global Expeditionary Medical

                System (“GEMS”), which the government has learned is no longer in service.

             b. The Theater Medical Data Store (“TMDS”), operated by the Defense Health

                Agency, could locate only a single medical record for the defendant, which did not

                relate to mental health.

             c. The government was in the process of obtaining medical records on file with the

                West Virginia Army National Guard (the “Guard”) to compare those records to the


                                                  1
Case 1:20-cr-00027-TSK-MJA Document 63 Filed 12/10/20 Page 2 of 4 PageID #: 183


                medical records associated with the defendant’s VA disability claim in 2011, which

                includes an October 2003 GEMS record relating to mental health.

        2.      On December 9, 2020, the Guard provided the government with the defendant’s

 medical records in its possession.   On the same date, the government provided those records to

 defense counsel. The Guard file does not include any additional theater-era mental health records

 than are contained in the defendant’s VA disability claim file, which defense counsel have had

 since July 31, 2020.

        3.      The government has now concluded its available efforts to assist the defendant in

 locating any additional mental health records.

        4.      In sum, the defendant is in possession of an October 2003 mental health record and

 her entire health record from VAMC Clarksburg for the period of June 2004 until her incarceration,

 which includes mental health records within weeks of her offenses.

        5.      Defense counsel have continued to indicate their intent to address the mental health

 issue for sentencing mitigation purposes through only a written report prepared by an expert.

        6.      Accordingly, the government proposes the following schedule leading up to the

 defendant’s sentencing hearing on February 18-19, 2021:

             a. Disclosure of any opening expert reports on or before January 22, 2021.

             b. Disclosure of any responsive expert reports on or before February 5, 2021.

             c. Filing of sentencing memoranda on or before February 12, 2021.

        7.      On December 10, 2020, the undersigned consulted with defense counsel regarding

 this proposed schedule.   Defense counsel indicated that it could not agree to these dates.   Instead

 of proposing alternative dates, defense counsel stated that they would be filing a motion to continue

 the sentencing date of February 18-19, 2021.     The government will oppose such a motion.



                                                  2
Case 1:20-cr-00027-TSK-MJA Document 63 Filed 12/10/20 Page 3 of 4 PageID #: 184


                                           Respectfully submitted,

                                           WILLIAM J. POWELL
                                           UNITED STATES ATTORNEY


                                    By:    /s/ Jarod J. Douglas
                                           Jarod J. Douglas
                                           Assistant U. S. Attorney




                                       3
Case 1:20-cr-00027-TSK-MJA Document 63 Filed 12/10/20 Page 4 of 4 PageID #: 185


                                  CERTIFICATE OF SERVICE

        I, Jarod J. Douglas, Assistant United States Attorney for the Northern District of West

 Virginia, hereby certify that on the 10th day of December 2020, the foregoing UNITED STATES’

 STATUS REPORT was electronically filed with the Clerk of the Court using the CM/ECF system

 which will send notification of such filing to the following:


                                       David P. Hoose, Esq.
                                          100 Main Street
                                      Northampton, MA 01060
                                       Counsel for Defendant

                                       Jay T. McCamic, Esq.
                                           80 12th Street
                                       Wheeling, WV 26003
                                       Counsel for Defendant

                                      Brian J. Kornbrath, Esq.
                                      Federal Public Defender
                                       230 West Pike Street
                                      Clarksburg, WV 26301

                                                       WILLIAM J. POWELL
                                                       UNITED STATES ATTORNEY

                                               By:     /s/ Jarod J. Douglas
                                                       Jarod J. Douglas
                                                       Assistant United State Attorney




                                                  4
